
85 So.3d 1188 (2012)
Calvin SLEDGE, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D12-792.
District Court of Appeal of Florida, Fifth District.
April 20, 2012.
Calvin Sledge, Sneads, pro se.
Pamela Jo Bondi, Attorney General Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is denied as to the trial court's April 5, 2011, sanction order. However, the petition for belated appeal is granted as to the January 21, 2012, order denying post-conviction relief in case no. 2000-CF-2908-O, in the Circuit Court in and for Orange County, Florida. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
GRIFFIN, SAWAYA and LAWSON JJ., concur.
